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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov


 THOMAS G. NEUSOM,

                   Appellant,                                             Case No.: 1:18-cv-24463-FAM

 v.

 BRIAN HOLLAND, et al.

                   Appellee.
 ____________________________________/

                 LANDLORD’S MEMORANDUM OF LAW IN OPPOSITION TO
                   NEUSOM’S EMERGENCY MOTION FOR STAY DURING
                    APPEAL TO THE BANKRUPTCY APPELLATE PANEL

          Brian Holland and Andrea Holland (“Landlord”) respectfully request that the Court, under

 Bankruptcy Rule 8007, deny Thomas Neusom’s (“Neusom”) Emergency Motion for Stay During

 the Appeal to the Bankruptcy Appellate Panel (“Stay Motion”)1 [D.E. 6] because Neusom does

 not state an adequate basis for obtaining a stay.

                                                    Background

          On October 25, 2018, Neusom filed a Notice of Appeal regarding the Findings of Fact and

 Conclusions of Law on Landlord’s Motion for Sanctions under Bankruptcy Rule 9011 and 11

 U.S.C. § 105 (“Sanctions Order”). A copy of the Sanctions Order is attached as Exhibit A.

 Landlord’s Motion for Sanctions was based on the improper stay of a state court eviction action.

 See Ex. A. Landlord was seeking to evict A Plus Lamination and Finishing Inc, (“A Plus

 Lamination”) from property owned by Landlord in state court, case number 2018-008187-CC-05,




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   Neusom’s motion is addressed to the bankruptcy appellate panel, which does not exist. This
 appeal is pending before the District Court.
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 pending in the County Court in and for Miami-Dade County. Id. On the date of a court-ordered

 mediation and on the eve of the issuance of a writ of possession, Neusom filed a bankruptcy on

 behalf of Nubia Marcella Perez (“Perez”), but alleged that Perez did business under the name A

 Plus Lamination. Id. Thus, Neusom made it look like A Plus Lamination was in bankruptcy,

 although it was not. Id. And, Neusom filed the petition to simply stop the eviction, which is a

 violation of the Bankruptcy Code and an abuse of its automatic stay provision. Id.

         Neusom filed three separate motions for stay pending appeal. First, October 30, 2018,

 Neusom filed a motion demanding that Judge Cristol recuse himself and grant a stay because

 Neusom filed a personal lawsuit against Judge Cristol in the U.S. District Court for the Southern

 District of Florida, case number 1:18CV24517. A copy of the first stay Motion is attached as

 Exhibit B and a copy of Neusom’s personal lawsuit against Judge Cristol is attached as Exhibit

 C2. Judge Cristol denied Neusom’s motion on October 31, 2018, noting that Neusom did not show

 a likelihood of success on appeal or irreparable injury, which are factors that must be established

 to obtain a stay. A copy of October 31st Order is attached as Exhibit D.

         On November 13, 2018, Neusom filed an emergency motion for stay in the Bankruptcy

 Court, which is identical to the Stay Motion currently pending before this Court. A copy of the

 second stay motion is attached as Exhibit E. On November 21, 2018, the Bankruptcy Court issued

 an order stating that it would refrain from ruling on Neusom’s second motion because it was

 addressed to the bankruptcy appellate panel, not the Bankruptcy Court. A copy of the November

 21st Order is attached as Exhibit F. Lastly, Neusom filed his Stay Motion with this Court on

 November 14, 2018.



 2
  Neusom’s lawsuit alleges fraud and violation of the equal protection clause, and the listed
 Defendants are the Judge, attorneys, and witnesses that were involved in the evidentiary hearing
 on Landlord’s Motion for Sanctions.
                                                          2
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                                            Memorandum of Law

        Neusom has not stated an adequate basis for obtaining a stay pending appeal. A motion

 for stay pending appeal “is an extraordinary remedy and requires a substantial showing on the part

 of the movant.” In re F.G. Metals, Inc., 390 B.R. 467, 471 (Bankr. M.D. Fla. 2008). The movant

 must show:

         (i) that the movant is likely to prevail on the merits of its appeal, (ii) that the movant
        will suffer irreparable injury if a stay or other injunctive relief is not granted, (iii)
        that other parties will suffer no substantial harm if a stay or other injunctive relief
        is granted, and (iv) in circumstances where the public interest is implicated, that the
        issuance of a stay or other injunctive relief will serve, rather than disserve, such
        public interest.

 Id. at 471–72 (noting that all four factors must be shown by a preponderance of the evidence).

        To find that Neusom is likely to prevail on the merits, this Court must determine that the

 Bankruptcy Court’s Sanctions Order was clearly erroneous. See id. at 472. (noting that the

 likelihood of success on the merits is the most important criteria). Neusom does not have a

 substantial likelihood of prevailing on the merits. As discussed above, Neusom is appealing the

 October 4, 2014 Sanctions Order. To stop a pre-scheduled mediation and obtain the benefit of the

 automatic stay, Neusom informed Joseph Colletti (“Colletti”), Landlord’s eviction counsel, that A

 Plus Lamination was in bankruptcy. See Ex. A at 4. Fearing violation of the automatic stay, Colletti

 filed a notice of cancellation of the mediation, advising the state court that the mediation was

 cancelled because A Plus Lamination was in bankruptcy, and in response, the state court entered

 an automatic stay of the state court proceedings. Id. at 4-5.

        Neusom argues that he will prevail on the merits because the stay was Colletti’s fault, not

 his, and Colletti should have independently investigated Neusom’s false bankruptcy allegations.

 D.E. 6 at 3-4. Neusom made an identical argument during the evidentiary hearing on the Motion



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 for Sanctions, and it was rejected by the Bankruptcy Court as misguided and contradictory to

 Neusom’s obligations under rule 9011:




 See Ex. A at 8. Thus, Neusom does not have a substantial likelihood of success on the merits.

        Additionally, Neusom has not shown that he will be irreparably harmed or that issuing a

 stay will serve the public’s interest. Neusom must show that his alleged irreparable harm is not

 speculative, but actual and imminent. In re F.G. Metals, Inc., 390 B.R. at 477. Mere monetary

 harm is not irreparable. In re Lickman, 301 B.R. 739, 748 (Bankr. M.D. Fla. 2003). And, the stay

 must serve rather than disserve the public interest. In re F.G. Metals, Inc., 390 B.R. at 477. Because

 of Neusom’s sanctionable, bad-faith conduct, Judge Cristol enjoined Neusom from practicing in

 the bankruptcy court for one year and forwarded the Sanctions Order to the Florida Bar for

 additional review:




                                                         4
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 See Ex. A at 10.

        Neusom argues that he is harmed because the Sanctions Order forbids his practice in

 bankruptcy court. See D.E. 6 at 4. Any damage suffered by Neusom is speculative as Neusom is

 not prohibited from practicing in all Florida courts, but only bankruptcy court, and Neusom

 presents no evidence regarding what volume of his practice consists of bankruptcy cases. Also,

 Neusom’s alleged damages are merely monetary, which is not irreparable harm. Additionally,

 Neusom’s inability to follow the rules of the bankruptcy court, as detailed in the Sanctions Order,

 is a disservice to the public at large and to any clients Neusom would seek to represent in a

 bankruptcy court. Thus, granting a stay would be a disservice to the public interest.

        Moreover, Neusom did not adhere to the procedure for obtaining a stay under Federal Rule

 of Bankruptcy Procedure 8007. A motion for stay must identify whether a motion was filed in the

 bankruptcy court and state the ruling; include relevant portions of the record; and provide affidavits

 or other sworn statements supporting disputed facts. Fed. R. Bankr. P. 8007. Neusom’s Stay

 Motion does not meet any of these requirements and should be denied by the Court.




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                                                   Conclusion

        The Court should deny Neusom’s Stay Motion because he has not shown a substantial

 likelihood of success on the merits or irreparable injury. Also, because of Neusom’s sanctionable,

 bad-faith litigation conduct, granting Neusom’s Stay Motion would be a disservice to the public.

    Dated: November 27, 2018.


                                                      s/ Utibe I. Ikpe
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                                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Landlord’s

 Memorandum of Law In Opposition to Neusom’s Emergency Motion for Stay During Appeal to

 The Bankruptcy Appellate Panel was served electronically on all counsel of parties of record via

 transmission of Notices of Electronic Filing generated by CM/ECF on November 27, 2018.


                                                      s/ Utibe I. Ikpe
                                                      Utibe Ikpe, Esquire




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